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 4
 5 Attorneys for Defendant, SURGERY CENTER MANAGEMENT, LLC.
 6
 7                             UNITED STATES DISTRICT COURT
 8                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
      UNITED STATES OF AMERICA,                 Case No.: CR 17-661-DMG
10
                                                DEFENDANT SURGERY CENTER
11                                              MANAGEMENT LLC.’S APPLICATION
                        Plaintiff,              TO WITHDRAW EXHIBITS;
12                                              [PROPOSED] ORDER
            vs.
13
14                                              HON. DOLLY M. GEE
15
   SURGERY CENTER MANAGEMENT,
16 LLC. et al.,
17
18                      Defendants.
19
20
              Surgery Center Management, LLC, by and through their counsel of record,
21
22 Michael S. Devereux, hereby applies for an order to withdraw exhibits that were received
23 before the Court on or about August 12, 2021, and entered in docket ## 1183, 1184.
24
   ///
25
26 ///
27 ///
28
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 1 These exhibits were not used and there is no purpose for them.
 2
 3 Dated: September 12, 2021                   Respectfully submitted,
 4                                       WEXFORD LAW,
 5
 6
                                                Michael Devereux
 7                                            Michael S. Devereux
 8                                            Attorney for Defendant
                                         SURGERY CENTER MANAGEMENT
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